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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


LIION, LLC,                                               CASE NO. 1:18-CV-06133
                 Plaintiff,                               JUDGE MARY M. ROWLAND
         vs.                                              MAGISTRATE JUDGE YOUNG B. KIM
VERTIV GROUP CORPORATION, et al.,
                 Defendants.




     MOTION FOR LEAVE TO FILE RESPONSE IN OPPOSITION TO MOTION
    FOR SUMMARY JUDGMENT IN EXCESS OF 15 PAGES AND TO FILE BRIEF,
              EXHIBITS, AND 56.1 STATEMENT UNDER SEAL

       NOW COMES Plaintiff LiiON and its attorneys, Barney & Karamanis, LLP and
respectfully moves this Honorable Court to allow Plaintiff/Counter-Defendant LiiON to file its
Memorandum in support in excess of 15 pages and to file the Response Brief, Exhibits, and 56.1
Statement under seal. In support of this motion, Plaintiff LiiON states as follows:
                                           ARGUMENT
       1.      Per Local Rules response briefs are not to exceed 15 pages.
       2.      During the drafting of said brief in support of Plaintiff’s LiiON’s response to
Defendants motion for summary judgment, it became necessary to exceed 15 pages.
       3.      In its final form the brief was approximately 25 pages, excluding the caption.
       4.      These excess pages were necessary to fully discuss Defendant Vertiv’s arguments
and the volume of exhibits necessary to sufficiently express Plaintiff’s arguments.
       5.      Because the excess is not egregious and the pages were necessary given the
circumstances, Plaintiff respectfully requests that this Honorable Court grant Plaintiff leave to
file its brief in oppositino in excess of 25 pages.



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        6.       Additionally, this matter involves highly sensitive, confidential information and
trade secrets.
        7.       Due to sensitive nature of the materials at issue, the Parties entered into a
protective order, which allowed the Parties to designate materials as Confidential or Attorney
Eyes Only.
        8.       Plaintiff’s brief in opposition, its 56.1 Statement of Facts, and the Exhibits
referenced therein are all subject to confidentiality.
        9.       Each of the aforementioned documents discusses, quotes, and references

Confidential and/or Attorney Eyes Only documents and information.
        10.      As a result of the sensitive nature of these materials, Plaintiff respectfully requests
that this Honorable Court grant Plaintiff leave to file its memorandum in support of its response,
its 56.1 Statement of Facts, and accompanying exhibits under seal.
        11.      Full unredacted copies of the Response, the 56.1(c) Response to Defendants
Statement of Facts, and accompanying Exhibits were transmitted to Defendants on March 31
2021, prior to the filing of this motion.


Dated: March 31, 2021
                                                    Respectfully submitted,

                                                    /s/ Kenneth A. Nazarian
                                                    James A. Karamanis (ARDC #6203479)
                                                    Kenneth A. Nazarian (ARDC #6309765)
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